Case 2:17-cv-00634-DEM Document 1 Filed 12/11/17 Page 1 of 10 PageID# 1




                                                    2:17cv634
Case 2:17-cv-00634-DEM Document 1 Filed 12/11/17 Page 2 of 10 PageID# 2
Case 2:17-cv-00634-DEM Document 1 Filed 12/11/17 Page 3 of 10 PageID# 3
Case 2:17-cv-00634-DEM Document 1 Filed 12/11/17 Page 4 of 10 PageID# 4
Case 2:17-cv-00634-DEM Document 1 Filed 12/11/17 Page 5 of 10 PageID# 5
Case 2:17-cv-00634-DEM Document 1 Filed 12/11/17 Page 6 of 10 PageID# 6
Case 2:17-cv-00634-DEM Document 1 Filed 12/11/17 Page 7 of 10 PageID# 7
Case 2:17-cv-00634-DEM Document 1 Filed 12/11/17 Page 8 of 10 PageID# 8
Case 2:17-cv-00634-DEM Document 1 Filed 12/11/17 Page 9 of 10 PageID# 9
Case 2:17-cv-00634-DEM Document 1 Filed 12/11/17 Page 10 of 10 PageID# 10
